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 7
 8                 UNITED STATES DISTRICT COURT FOR THE
 9                     CENTRAL DISTRICT OF CALIFORNIA
10
11
     TESSIBLE “SKYLER” FOSTER;                 Case No.: 2:23-cv-07441-AB-PVC
12   MARIE SCOTT; and KRISTA
13   BAUMBACH,                                  SECOND AMENDED CLASS
                                                ACTION COMPLAINT
14
                 Plaintiffs,
15                                             DEMAND FOR JURY TRIAL
     v.
16
17
     800-FLOWERS, INC., D/B/A 1-800-
18   FLOWERS.COM, HARRY & DAVID,
19   PERSONALIZATION MALL,
     SHARI’S BERRIES, 1-800-
20   BASKETS.COM, SIMPLY
21   CHOCOLATE, FRUIT
     BOUQUETS.COM, CHERYL’S
22
     COOKIES, THE POPCORN
23   FACTORY, WOLFERMAN’S
24   BAKERY, and VITAL CHOICE,

25
26               Defendant.

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 1         Plaintiffs Tessible “Skyler” Foster, Marie Scott, and Krista Baumbach,
 2   individually and on behalf of all others similarly situated, complain and allege as
 3   follows based on personal knowledge as to each of themselves, on the investigation
 4   of counsel, and on information and belief as to all other matters.
 5                             NATURE OF THE ACTION
 6
           1.     Plaintiffs bring this Second Amended Class Action Complaint against
 7
     800-Flowers, Inc. (“Defendant”) for engaging in an illegal “automatic renewal”
 8
     scheme with respect to its Celebrations Passport product, which Defendant sells on
 9
     its network of websites and through other channels including its telephone lines.
10
     Defendant is a retailer of flowers and gifts. Defendant’s Celebrations Passport is a
11
     membership program that provides customers free shipping and no service fees for
12
     the first year at a cost of $19.99, which then automatically renews every year after
13
14   the initial year at a cost of $29.99 plus tax (the “Automatic Renewal Fee”) charged

15   to the consumer’s stored credit card, debit card or third-party payment account

16   (collectively the “Payment Method”). Prior to assessing the Automatic Renewal
17   Fees, Defendant not only failed to obtain Plaintiffs’ and other California consumers’
18   consent to be charged these fees – Defendant failed to even disclose the existence
19   of the fee to them in a clear and conspicuous manner. By assessing the Automatic
20   Renewal Fees to Plaintiffs and other California consumers without providing
21   adequate notice or obtaining the requisite consent, Defendant violated California’s
22   Automatic Renewal Law (“ARL”), Cal. Bus. & Prof. Code §§ 17600, et seq.
23         2.     The ARL requires retailers like Defendant that sell automatically
24   renewing subscriptions to California consumers to, inter alia: (a) obtain affirmative
25
     consent before a customer buys an automatically renewing subscription; (b) provide
26
     the complete auto-renewal terms in a clear and conspicuous manner and in visual
27
     proximity, or in the case of an offer conveyed by voice, in temporal proximity, to
28
     the request for consent before purchase; and (c) provide customers notice of an
                                       1
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 1   automatic renewal between 15 and 45 days before the offer renews. As is set forth
 2   herein, Defendant has violated all three of these requirements.
 3         3.     Specifically, Defendant systematically violates the ARL by: (i) failing
 4   to present the automatic renewal offer terms applicable to the Celebrations Passport
 5   in a clear and conspicuous manner and in visual proximity, or in the case of an offer
 6
     conveyed by voice, in temporal proximity, to the request for consent to the offer
 7
     before the subscription or purchasing agreement is fulfilled, in violation of Section
 8
     17602(a)(1); (ii) charging consumers’ Payment Method without first obtaining
 9
     affirmative consent to the agreement containing the automatic renewal offer terms,
10
     in violation of Section 17602(a)(2); and (iii) failing to provide notice of the renewal
11
     between 15 and 45 days before the automatic renewal occurs, in direct violation of
12
     Section17602(b)(2). Cal. Bus. & Prof. Code §§ 17602(a)(l), (a)(2), and (b)(2). As a
13
14   result, all goods, wares, merchandise, or products sent to Plaintiffs and the Class

15   through the unlawful automatic renewal of a continuous service agreement are

16   deemed to be “unconditional gifts” under the ARL. Cal. Bus. & Prof. Code §
17   17603.
18         4.     Accordingly, Plaintiffs bring this action individually and on behalf of
19   all California purchasers of Celebrations Passport whose stored Payment Method
20   was charged an Automatic Renewal Fee during the class period.               Based on
21   Defendant’s unlawful conduct, Plaintiffs seek damages, restitution, injunctive
22   relief, and reasonable attorneys’ fees and costs, for violation of California’s Unfair
23   Competition Law (“UCL”), Cal. Bus. & Prof. Code §§ 17200, et seq.
24                            JURISDICTION AND VENUE
25
           5.     Plaintiffs bring this class action pursuant to Fed. R. Civ. P. 23.
26
           6.     The Court has subject-matter jurisdiction over this action pursuant to
27
     28 U.S.C. § 1332(d) because there are more than 100 class members and the
28

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 1 aggregate amount in controversy exceeds $5,000,000, exclusive of interest, fees, and
 2 costs, and at least one Class member is a citizen of a state different from Defendant.
 3         7.     The Court has personal jurisdiction over Defendant pursuant to
 4   California’s “long-arm” statute, Cal. Civ. Proc. Code § 410.10, because Defendant
 5   intentionally markets, promotes, and sells its products and services, including its
 6
     Celebrations Passport product, to Plaintiffs and other consumers in California, and
 7
     knowingly collects substantial revenue from such transactions in California, such
 8
     that Defendant conducts significant business in California and otherwise
 9
     intentionally and purposefully avails itself of the markets and the benefits of doing
10
     business in California.
11
                                      THE PARTIES
12
            8.    Plaintiff Skyler Foster is a resident of Yuba County, California.
13
14 Plaintiff Foster purchased products from Defendant, including the Celebrations
15 Passport, for personal, family, or household purposes, and is therefore a “consumer”
16 under Cal. Bus. & Prof. Code § 17601(d).
17        9.    Plaintiff Marie Scott is a resident of San Bernadino County, California.
18 Plaintiff Scott purchased products from Defendant, including the Celebrations
19 Passport, for personal, family, or household purposes, and is therefore a “consumer”
20 under Cal. Bus. & Prof. Code § 17601(d).
21          10.   Plaintiff Krista Baumbach is a resident of Solano County, California.
22 Plaintiff Keller purchased products from Defendant, including the Celebrations
23 Passport, for personal, family, or household purposes, and is therefore a “consumer”
24 under Cal. Bus. & Prof. Code § 17601(d).
25
          11. Defendant 800-Flowers, Inc. is an online retailer of flowers and gifts.
26
     Defendant is organized under the laws of New York and maintains its corporate
27
     headquarters and principal place of business in Jericho, New York.
28

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                           California’s Autorenewal LAW (“ARL”)
 1                          Cal. Bus. Prof. Code § 17600, et. seq.
 2
            12.     In the 2009 Legislative Session the California Legislature passed the
 3
     ARL, which was intended “to end the practice of ongoing charging of consumer
 4
 5   credit or debit cards or third-party payment accounts without the consumers’

 6   explicit consent for ongoing shipments of a product or ongoing deliveries of
 7   service.” Cal. Bus. Prof. Code § 17600.
 8          13.     The ARL addresses “increasingly common” consumer complaints of
 9 unwanted credit charges for products or services consumers did not explicitly
10 request or know they were agreeing to, “often the result of agreements enumerated
11 in the “fine print” on an order or advertisement that the consumer responded to.”
12 California Bill Analysis, S.B. 340 Sen., 4/21/2009.
13        14. Under the ARL an “automatic renewal means a plan or arrangement in
14   which a paid subscription or purchasing agreement is automatically renewed at the
15   end of a definite term for a subsequent term.” Cal. Bus. Prof. Code § 17601(a).
16
           15.      The ARL requires that the following disclosures pertaining to an
17
     automatic renewal be “clear and conspicuous”:
18
                 1) That the subscription or purchasing agreement will continue until the
19
                    consumer cancels;
20
                 2) The description of the cancellation policy that applies to the offer;
21
                 3) The recurring charges that will be charged to the consumer’s credit or
22
                    debit card or payment account with a third party as part of the
23
24                  automatic renewal plan or arrangement, and that the amount of the

25                  charge may change, if that is the case, and the amount to which the

26                  charge will change, if known;
27               4) The length of the automatic renewal term or that the service is
28                  continuous, unless the length of the term is chosen by the consumer;

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 1               5) The minimum purchase obligation, if any.
 2   Cal. Bus. Prof. Code § 17601(b)
 3         16.      “Clear and conspicuous” or “clearly conspicuous” means in larger type
 4   than the surrounding text, or in contrasting type, font, or color to the surrounding
 5   text of the same size, or set off from the surrounding text of the same size by
 6
     symbols or other marks, in a manner that clearly calls attention to the language. In
 7
     the case of an audio disclosure, “clear and conspicuous” and “clearly and
 8
     conspicuously” means in a volume and cadence sufficient to be readily audible and
 9
     understandable. Cal. Bus. & Prof. Code § 17601(c).
10
           17.      The ARL makes it unlawful for a business to (1) make an automatic
11
     renewal offer that fails to present the “automatic renewal offer terms” in a “clear
12
     and conspicuous manner” “before the subscription or purchasing agreement is
13
14   fulfilled and in visual proximity, or in the case of an offer conveyed by voice, in

15   temporal proximity . . . to the request for consent to the offer”; and (2) to charge the

16   consumer’s Payment Method without first obtaining the consumer’s “affirmative
17   consent” to the automatic renewal. Cal. Bus. Prof. Code § 17602(a)(1) & (2).
18         18.      Under the ARL, where the initial term of an autorenewal offer is one
19   year or longer, the consumer must be provided notice of renewal of the offer at least
20   15 days before, but not more than 45 days before, the offer renews. Cal Bus. &
21   Prof. Code § 17601(b)(2).
22            FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS
23      (a) The Celebrations Passport
24         19.      Defendant operates multiple consumer brands including 1-800-
25
     Flowers.com, Harry & David, Personalization Mall, Shari’s Berries, 1-800-
26
     Baskets.com, Simply Chocolate, Fruit Bouquets.com, Cheryl’s Cookies, the
27
     Popcorn Factory, Wolferman’s Bakery, and Vital Choice. These different brands
28

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 1   offer products in various categories for the purpose of gift giving, such as flowers,
 2   gift baskets, cookies, healthy snacks, and fruit arrangements.
 3         20.    Defendant charges customers shipping and handling fees for gift
 4   deliveries, and service fees for floral deliveries, across all of its brands. Defendant’s
 5   “Celebrations Passport” product gives customers free shipping and allows
 6
     customers to avoid service fees for one year for all orders made from Defendant’s
 7
     brands.
 8
           21.    Defendant advertises that it costs $19.99 to purchase the Celebrations
 9
     Passport and touts the benefits of free shipping and waived service fees. But what
10
     Defendant’s offer deceptively conceals from consumers is that each year following
11
     the purchase of the Celebrations Passport, Defendant automatically charges the
12
     customer an Automatic Renewal Fee of $29.99 – $10.00 more (plus tax) than the
13
14   initial fee – to the Payment Method supplied by the customer (and stored by

15   Defendant) at enrollment.       Defendant’s offer also deceptively conceals from

16   consumers that they may cancel the Celebration Passport service before it
17   automatically renews.
18         22.    Defendant sells Celebrations Passport through different channels
19   including by phone and online (including its websites and mobile apps). Defendant
20   has used various means to induce customers to add the Celebrations Passport to
21   their orders. For example, one tactic Defendant has used is to automatically add
22   Celebrations Passport to customers’ orders without customers requesting the
23   Celebrations Passport be added. But regardless of the means Defendant has used
24   to induce consumers to purchase the Celebrations Passport, Defendant has
25   uniformly failed to disclose the key, statutorily required autorenewal terms, in a
26   clear and conspicuous manner, prior to the customer’s completion of the order
27   process – namely: (a) the fact that the Celebrations Passport automatically renews,
28   (b) that the renewal fee is $29.99, $10.00 higher than the introductory fee, and (c)

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 1   that the customer’s stored payment method will be charged every year, each of
 2   which is an independent violation of the ARL Cal. Bus. & Prof. Code §17602(a)(1).
 3         23.    It is unlawful under the ARL for Defendant to charge customers’
 4   Payment Method an Automatic Renewal Fee without first obtaining consumers’
 5   affirmative consent to the agreement containing the automatic renewal offer terms.
 6   Cal. Bus. & Prof. Code § 17602(a)(2). To the extent the checkout process on
 7   Defendant’s websites, phone lines, and other sales channels has included the
 8   necessary automatic renewal terms, these disclosures were not “clear and
 9   conspicuous” as required under the ARL and as such did not manifest a customer’s
10   consent to the autorenewal terms. As it relates to Defendant’s websites, “clear and
11   conspicuous” means the disclosure of key terms is presented in larger type than the
12   surrounding text, or in contrasting type, font, or color to the surrounding text of the
13   same size, or set off from the surrounding text of the same size by symbols or other
14   marks, in a manner that clearly calls attention to the language. And in the case of
15   Defendant’s telephone lines, an audio disclosure that is “clear and conspicuous”
16   and “clearly and conspicuously” means in a volume and cadence sufficient to be
17   readily audible and understandable. Cal. Bus. & Prof. Code § 17601(c).
18         24.    Defendant’s websites and other non-auditory sales channels do not
19   display the required autorenewal disclosures in larger type than the surrounding
20   text, or in contrasting type, font, or color to the surrounding text of the same size,
21   or set off from the surrounding text of the same size by symbols or other marks, in
22   a manner that clearly calls attention to the language. Nor are any disclosures
23   provided by Defendant over its telephone lines prior to its sales of Celebrations
24   Passport made in a volume and cadence sufficient to be readily audible and
25   understandable. Cal. Bus. & Prof. Code § 17601(c).
26         25.    Rather, to capture more revenue per transaction, Defendant designed
27   its order processes to present the terms of the Celebrations Passport in an
28   intentionally inconspicuous manner, including by hiding the fact that Celebrations

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 1   Passport is automatically renewed each year and that a customer’s stored Payment
 2   Method will be automatically charged each year (and that the customer can cancel
 3   at any time). Indeed, on its websites, Defendant displays such language in font type
 4   that is smaller than and not otherwise in contrast to surrounding text, and not
 5   otherwise in a manner that clearly calls attention to such language, as well as by
 6   falsely representing to consumers that the product costs $19.99/year when in fact it
 7   renews every year after the initial year at the price at $29.99 plus tax. Likewise,
 8   with respect to its sales of Celebrations Passport by telephone Defendant hid the
 9   fact that Celebrations Passport is automatically renewed each year and that a
10   customer’s stored Payment Method will be automatically charged each year (and
11   that the customer can cancel at any time) – such as, by conveying that information
12   in an volume and cadence insufficient to render those disclosures audible, or by not
13   making them at all – and by falsely representing to consumers that the product costs
14   $19.99/year when in fact it renews every year after the initial year at the price at
15   $29.99 plus tax.
16         26.    Further, once a customer is enrolled in the Celebrations Passport,
17    Defendant does not send customers who are enrolled in Celebrations Passport a
18    notice between 15 and 45 days before Celebrations Passport automatically renews
19    for another year, as required under Cal. Bus. & Prof. Code § 17602(b)(2) – even
20    though Defendant previously obtained these customers’ mailing addresses, email
21
      addresses, and phone numbers at the time of their initial purchases and could thus
22
      readily provide them with such notices.
23
        (b) Plaintiffs’ Purchase of Celebrations Passport
24
           27.    In April 2021, Plaintiff Foster made a purchase of goods from
25
     Defendant’s “1-800-Flowers” brand, and such purchase included the Celebrations
26
     Passport. Plaintiff Foster was assessed $19.99 (plus taxes) for the Celebrations
27
     Passport. Plaintiff Foster provided personal information to Defendant, including
28

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 1    her name, address, and telephone number and/or email address, at the time of her
 2    purchase.
 3          28.   At the time of her 2021 purchase, Defendant stored Plaintiff Foster’s
 4    third-party payment information.
 5          29.   Defendant then automatically charged Plaintiff Foster stored payment
 6
      method approximately $33.00 (representing the $29.99 Automatic Renewal Fee
 7
      plus taxes). On or about April 28, 2022 and May 5, 2023 Defendant charged
 8
      Plaintiff Foster’s PayPal account an Automatic Renewal Fee for Celebrations
 9
      Passport.
10
            30.   In July 2020, Plaintiff Scott made a purchase of goods from
11
      Defendant’s “1-800-Flowers” brand, and such purchase included the Celebrations
12
      Passport. Plaintiff Scott was assessed $19.99 (plus taxes) for the Celebration
13
14    Passport. Plaintiff Scott provided personal information to Defendant, including her

15    name, address, and telephone number and/or email address, at the time of her

16    purchase.
17          31.   At the time of her 2020 purchase, Defendant stored Plaintiff Scott’s
18    debit card information.
19          32.   Defendant then automatically charged Plaintiff Scott debit card
20    approximately $33.00 (representing the $29.99 Automatic Renewal Fee plus taxes).
21    In July 2021 Defendant charged Plaintiff Scott’s debit card an Automatic Renewal
22    Fee for Celebrations Passport.
23          33.   In February 2021, Plaintiff Baumbach made a purchase of goods from
24    Defendant’s “Harry and David” brand, and such purchase included the Celebrations
25
      Passport. Plaintiff Baumbach was assessed $19.99 (plus taxes) for the Celebration
26
      Passport.   Plaintiff Baumbach provided personal information to Defendant,
27
      including her name, address, and telephone number and/or email address, at the
28
      time of her purchase.
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 1          34.    At the time of her 2021 purchase, Defendant stored Plaintiff
 2    Baumbach’s payment information.
 3          35.    Defendant then automatically charged Plaintiff Baumbach’s stored
 4    payment method approximately $33.00 (representing the $29.99 Automatic
 5    Renewal Fee plus taxes). In or around February 2022 Defendant charged Plaintiff
 6
      Baumbach’s stored payment method an Automatic Renewal Fee for Celebrations
 7
      Passport.
 8
            36.    Plaintiffs were not aware of either the Automatic Renewal Fee or its
 9
      ten-dollar price increase because Defendant uniformly failed – on its websites,
10
      telephone lines, and all of its other sales channels – to present the Celebration
11
      Passport’s “automatic renewal offer terms” to them (or any other of its customers)
12
      in “a clear and conspicuous manner” when they made their purchases. Indeed,
13
      Defendant’s 1-800-Flowers.com and other websites and other non-auditory sales
14
      channels did not display the required autorenewal disclosures in larger type than the
15
      surrounding text, or in contrasting type, font, or color to the surrounding text of the
16
      same size, or set off from the surrounding text of the same size by symbols or other
17
      marks, in a manner that clearly calls attention to the language and, in the case of
18
      Defendant’s telephone lines, the required disclosures were either not made at all or
19
      not made in a volume and cadence sufficient to be readily audible and
20
      understandable. Cal. Bus. & Prof. Code § 17601(c).
21
            37.    Plaintiffs did not affirmatively consent to their payment information
22
      being stored, their stored payment method being charged the Automatic Renewal
23
      Fee for the Celebrations Passport, or the increased price for the Automatic Renewal
24
      Fee, because such terms were not adequately disclosed when they made their initial
25
      purchases.
26
            38.    Nor did Defendant provide Plaintiffs notice between 15 and 45 days
27
      before Celebrations Passport automatically renewed and Defendant charged
28
      Plaintiffs’ stored payment method an automatic renewal fee.

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 1          39.    Had Plaintiffs known that their initial purchase from Defendants which
 2    included the Celebrations Passport, was subject to automatic renewal or the
 3    Automatic Renewal Fee, that their stored payment methods would automatically be
 4    charged each year, or that Automatic Renewal Fee was $10.00 more than the stated
 5    fee for the initial year, Plaintiffs would not have purchased the Celebrations
 6    Passport in the first place, due to, among other reasons, the hassle of monitoring a
 7    subscription and timely cancelling. Plaintiffs did not know these facts because of
 8    the deceptive marketing Defendant used (and continues to use) to sell Celebrations
 9    Passport, including Defendant’s failure to present the automatic renewal offer terms
10    clearly and conspicuously before Plaintiffs agreed to purchase Celebrations
11    Passport. Moreover, Plaintiffs could not reasonably cancel their Celebrations
12    Passport before it automatically renewed because, in addition to the foregoing,
13    Defendant failed to notify Plaintiffs of the Celebration Passport’s renewal between
14    15 and 45 days in advance of the automatic renewal as required by the ARL.
15          40.    The facts giving rise to Plaintiffs’ claims are materially the same as the
16    Class they seek to represent.
17                                    Class Action Allegations
18          41.    Plaintiffs bring this action on Plaintiffs’ own behalf and on behalf of
19    all persons similarly situated as a class action pursuant to Fed. R. Civ. P. 23. The
20    Class which Plaintiffs seek to represent is comprised of and defined as:
21          All persons in California who, within the applicable statutory period, up to
22
            and including the date of final judgment in this action, incurred an Automatic
23
            Renewal Fee in connection with Celebrations Passport.
24
            42.    Excluded from the Class are Defendant, its corporate parents,
25
      subsidiaries, franchisees and affiliates, officers and directors, any entity in which
26
      Defendant has a controlling interest, and the legal representatives, successors or
27
28

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 1    assigns of any such excluded person or entities, and the Court to which this action
 2    is assigned.
 3          43.      Plaintiffs reserve the right to amend or modify the class description
 4    with greater specificity or further division into subclasses or limitation to particular
 5    issues based upon discovery or further investigation.
 6
            44.      This action may properly be brought and maintained as a class action
 7
      pursuant to Federal Rule of Civil Procedure 23(a) and (b). This class action satisfies
 8
      the numerosity, typicality, adequacy, commonality, predominance, and superiority
 9
      requirements.
10
            45.      On application by Plaintiffs’ counsel for class certification, Plaintiffs
11
      may also seek certification of subclasses in the interests of manageability, justice,
12
      or judicial economy.
13
            46.      Numerosity. The number of persons within the Classes is substantial,
14
      believed to amount to be in at least the thousands of persons. It is, therefore,
15
16    impractical to join each member of the Class as a named Plaintiff. Further, the size

17    and relatively modest value of the claims of the individual members of the Class
18    renders joinder impractical. Accordingly, utilization of the class action mechanism
19    is the most economically feasible means of determining and adjudicating the merits
20    of this litigation. Moreover, the Class is ascertainable and identifiable from
21    Defendant’s records.
22          47.      Commonality and Predominance. There are well-defined common
23    questions of fact and law that exist as to all members of the Class and that
24    predominate over any questions affecting only individual members of the Class.
25    These common legal and factual questions, which do not vary from class member
26    to class member, and which may be determined without reference to the individual
27
      circumstances of any class member include, but are not limited to, the following:
28

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 1          (a) Whether Defendant’s annual renewal of Celebrations Passport
 2                constitutes an “automatic renewal” within the meaning of Cal. Bus. &
 3                Prof. Code § 17601(a);
 4          (b) Whether Defendant failed to present the automatic renewal offer terms,
 5                or continuous service offer terms, in a clear and conspicuous manner
 6
                  before the subscription or purchasing agreement was fulfilled and in
 7
                  visual proximity, or in the case of an offer conveyed by voice, in temporal
 8
                  proximity, to the request for consent to the offer, in violation of Cal. Bus.
 9
                  & Prof. Code § 17602(a)(l);
10
            (c) Whether Defendant charged Plaintiffs’ and Class members’ stored
11
                  Payment Method an Automatic Renewal Fee without first obtaining their
12
                  affirmative consent to the automatic renewal offer terms in violation of
13
14                Cal. Bus. & Prof. Code §17602(a)(2);

15          (d) Whether the goods and services provided by Defendant are deemed

16                “unconditional gifts” in accordance with Cal. Bus. & Prof. Code § 17603;
17          (e) Whether Defendant’s conduct alleged herein violated California’s Unfair
18                Competition Law (“UCL”), Cal. Bus. & Prof. Code §§ 17200, et seq.;
19          (f) Whether Plaintiff and the Class are entitled to, and the amount of any,
20                damages and/or restitution;
21          (g) Whether Defendant should be enjoined from further engaging in the
22                misconduct alleged herein; and
23          (h) Whether Plaintiffs and the Class are entitled to attorneys’ fees and costs
24                under Cal. Civ. Proc. Code § 1021.5.
25          48.     Typicality. The claims of the named Plaintiffs are typical of the claims
26
      of members of the Class because Plaintiffs and all members of the proposed Class
27
      have suffered similar injuries as a result of the same practices alleged herein.
28

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 1    Plaintiffs have no interests to advance adverse to the interests of the other members
 2    of the proposed Class.
 3          49.    Adequacy. Plaintiffs have retained and are represented by qualified
 4    and competent counsel who are highly experienced in complex consumer class
 5    action litigation.     Plaintiffs and their counsel are committed to vigorously
 6
      prosecuting this class action. Moreover, Plaintiffs fairly and adequately represent
 7
      and protect the interests of the Class. Neither Plaintiffs nor their counsel has any
 8
      interest adverse to, or in conflict with, the interests of the absent members of the
 9
      Class. Plaintiffs have raised viable statutory claims of the type reasonably expected
10
      to be raised by members of the Class and will vigorously pursue those claims. If
11
      necessary, Plaintiffs may seek leave of this Court to amend this Class Action
12
      Complaint to include additional Class representatives to represent the Class or
13
14    additional claims as may be appropriate.

15          50.    Superiority. A class action is superior to other available methods for

16    the fair and efficient adjudication of this controversy because individual litigation
17    of the claims of all members of the Classes is impracticable. Even if every member
18    of the Class could afford to pursue individual litigation, the Court system could not.
19    It would be unduly burdensome to the courts in which individual litigation of
20    numerous cases would proceed. Individualized litigation would also present the
21    potential for varying, inconsistent or contradictory judgments, and would magnify
22    the delay and expense to all parties and to the court system resulting from multiple
23    trials of the same factual issues. By contrast, the maintenance of this action as a
24    class action, with respect to some or all of the issues presented herein, presents few
25    management difficulties, conserves the resources of the parties and of the court
26
      system and protects the rights of each member of the Class. Plaintiffs anticipate no
27
      difficulty in the management of this action as a class action. Class-wide relief is
28
      essential to compel compliance with the ARL.
                                            14
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 1          51.      Defendant has acted or failed to act on grounds generally applicable to
 2    the Class, thereby making appropriate final injunctive relief with respect to the
 3    Class as a whole.
 4          52.      Without a class action, Defendant will continue a course of action that
 5    will result in further damages to Plaintiffs and members of the Class and will likely
 6
      retain the benefits of its wrongdoing.
 7
            53.      Based on the foregoing allegations, Plaintiffs’ claim for relief is as set
 8
      forth below.
 9
                                      CLAIM FOR RELIEF
10
11             Violation of California’s Unfair Competition Law (“UCL”),
                        (Cal. Bus. & Prof. Code §§ 17200, et seq.)
12
13
            54.      Plaintiffs re-allege and incorporate by reference every allegation set
14
     forth in the preceding paragraphs as though alleged in this claim.
15
            55.      Plaintiffs brings this claim individually and on behalf of the members
16
     of the proposed Class against Defendant.
17
            56.      Cal. Bus. & Prof. Code § 17200, et seq. (the “UCL”) prohibits acts of
18
     “unfair competition,” including any unlawful and unfair business acts or practices.
19
            57.      Under the “unlawful” prong of the UCL, a violation of another law is
20
21 treated as unfair competition and is independently actionable.
22         58. Defendant committed unlawful practices in violation of the UCL by
23 violating Cal. Bus. & Prof. Code § 17600, et seq., California’s Automatic Purchase
24 Renewal Statute, which declares unlawful “the practice of ongoing charging of
25 consumer credit or debit cards or third-party payment accounts without the
26 consumers’ explicit consent for ongoing shipments of a product or ongoing
27 deliveries of service,” in each of the following ways:
28

                                           15
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 1                A. Defendant failed to present the terms of its automatic renewal or
 2                   continuous service offer in a clear and conspicuous manner before
 3                   fulfilling the subscription and in visual proximity, or in the case of an
 4                   offer conveyed by voice, in temporal proximity, to the request for
 5                   consent to the offer, as required by Cal. Bus. & Prof. Code §§
 6
                     17602(a)(1);
 7
                  B. Defendant charged Plaintiffs’ and the Class’s credit or debit cards, or
 8
                     account with a third party, for an automatic renewal or continuous
 9
                     service without first obtaining the consumer’s affirmative consent to
10
                     the agreement containing the automatic renewal offer terms or
11
                     continuous offer terms, as required by Cal. Bus. & Prof. Code §§
12
                     17602(a)(2); and
13
14                C. Defendant failed to provide notice of an automatic renewal offer or

15                   continuous service offer with an initial term of one year or longer, that

16                   automatically renews unless the consumer cancels the automatic
17                   renewal or continuous service, at least 15 days and not more than 45
18                   days before the automatic renewal offer or continuous service offer
19                   renews, as required by Cal. Bus. & Prof. Code §§ 17602(b)(2).
20          59.      Under the “unfair” prong of the UCL, a business practice is unfair if
21    that practice offends an established public policy or when the practice is immoral,
22    unethical, oppressive, unscrupulous or substantially injurious to consumers.
23          60.      Defendant committed unfair acts and practices in violation of the UCL
24    by, inter alia, mispresenting in marketing materials and creating the false
25
      impression that the Celebration Passport’s fee was $19.99 for each and every year
26
      when, in fact, the fee automatically increased to $29.99 after the first year.
27
28

                                          16
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 1          61.    Plaintiffs and the Class reserve the right to allege other violations of
 2    law which constitute unlawful, unfair, or fraudulent business acts or practices as
 3    Defendant’s conduct is ongoing and continues to this date.
 4          62.    All products received from Defendant in violation of the ARL
 5    constitute “unconditional gifts.” See Cal. Bus. Prof. Code § 17603. As a direct and
 6    proximate result of Defendant’s unlawful and/or unfair practices described herein,
 7    Defendant has received, and continues to hold, unlawfully obtained property and
 8
      money belonging to Plaintiffs and the Class in the form of automatic renewal
 9
      payments made by Plaintiffs and the Class for Celebrations Passport. Defendant
10
      has profited from its unlawful and/or unfair acts and practices in the amount of the
11
      monies obtained from those unlawful renewals and interest accrued thereon.
12
            63.    Defendant’s acts and omissions as alleged herein violate obligations
13
      imposed by statute, are substantially injurious to consumers, offend public policy,
14
      and are immoral, unethical, oppressive and unscrupulous as the gravity of the
15
16    conduct outweighs any alleged benefits attributable to such conduct.

17          64.    There were reasonably available alternatives to further Defendant’s
18    legitimate business interests, other than the conduct described herein.
19          65.    Defendant’s    acts,   omissions,   nondisclosures,   and    misleading
20    statements as alleged herein were and are false, misleading, and/or likely to deceive
21    the consuming public.
22          66.    As a result of Defendant’s unlawful and unfair business practices,
23    Plaintiffs and the Class have suffered an injury in fact and have lost money in an
24    amount to be determined at the trial of this action.
25          67.    Pursuant to Cal. Bus. & Prof. Code §17203, Plaintiffs and the other
26    members of the Class are entitled to an order: (1) requiring Defendant to make
27
      restitution to Plaintiffs and the Class; (2) enjoining Defendant from charging
28
      Plaintiffs’ and Class members’ stored payment methods until such time as

                                         17
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 1    Defendant obtains the consumer’s affirmative consent to an agreement that contains
 2    clear and conspicuous disclosures of all automatic renewal or continuous service
 3    offer terms; and (3) enjoining Defendant from making automatic renewal or
 4    continuous service offers in the State of California that do not comply with the ARL.
 5                                 PRAYER FOR RELIEF
 6
            WHEREFORE, Plaintiffs pray for relief and judgment, as follows:
 7
            A. For an order certifying Plaintiffs as Class representatives and appointing
 8
               Plaintiffs’ counsel as class counsel;
 9
            B. For an order finding in favor of Plaintiffs and the Class on all claims
10
               alleged herein;
11
            C. For actual, compensatory, statutory, and/or punitive damages in amounts
12
               to be determined by the Court and/or jury;
13
14          D. For prejudgment interest on all amounts awarded;

15          E. For an order of restitution and all other forms of equitable monetary relief;

16          F. For injunctive relief as pleaded or as the Court may deem proper; and
17          G. For an order awarding Plaintiffs and the Class their reasonable attorneys’
18             fees expenses, and costs of suit; and
19          H. Awarding such other equitable or other relief as the Court may deem just
20             and proper.
21
22                                     JURY DEMAND

23          Plaintiffs hereby demand a trial by jury on all claims and issues so triable.

24
      Dated: April 12, 2024                  Respectfully Submitted,
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28

                                        18
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